
395 Pa. 581 (1959)
Carbone Appeal.
Supreme Court of Pennsylvania.
Argued April 20, 1959.
April 24, 1959.
*582 Before JONES, C.J., BELL, MUSMANNO, JONES, COHEN, BOK and McBRIDE, JJ.
Irwin Albert, for appellant.
James S. Bowman, with him Addison M. Bowman, Jr., and Nauman, Smith, Shissler &amp; Hall, for appellee.
OPINION PER CURIAM, April 24, 1959:
The order of the court below is affirmed on the opinion of Judge JACOBS, reported in 16 Pa. D. &amp; C. 2d 500.
